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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF INDIANA
                           INDIANAPOLIS DIVISION


 TODD DAVIDSON, WILBERT                   )
 WIGGINS, GEORGE DOUGLAS, JR.,            )
 CHARLES MAGEE, EUGENE SMITH,             )
 GEORGE RODGERS, and KENTON               )
 SMITH,                                   )
                                          )
             Plaintiffs,                  )
                                          )
       vs.                                )
                                          )       1:03-CV-1882-SEB-JPG
 CITIZENS GAS & COKE UTILITY,             )
                                          )
             Defendant.                   )
                                          )
                                          )

                ENTRY ON PENDING MOTIONS TO SUBSTITUTE


       As contemplated during the recent trial proceedings in this matter, the

 bankruptcy trustees for the bankruptcy estates of Plaintiffs, Todd Davidson

 and Eugene Smith, have filed motions seeking to be joined and substituted as

 the real parties in interest in this litigation. Both Davidson and Smith failed to

 list their pending EEOC claims or potential discrimination actions as assets

 when they pursued their individual bankruptcies and both estates were closed

 prior to this action being filed. Accordingly, it is necessary and appropriate

 that the bankruptcy estates have been reopened and that the trustees have

 sought to be substituted as plaintiffs in this lawsuit.




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       The only distinction between the two motions before us is that Davidson

 and his bankruptcy estate have asked that the trustee be substituted only for

 purposes of pursuing Davidson’s back pay claim, leaving to Davidson

 personally and by counsel his claim for injunctive relief and retroactive

 seniority. Defendant, Citizens Gas & Coke Utility, argues that the trustee of

 Davidson’s bankruptcy estate should be substituted for purposes of pursuing

 all of Davidson’s claims, taking issue with Davidson’s reason for this

 bifurcation, that the injunctive relief claim and the claim for retroactive

 seniority have no monetary value and thus can be litigated by Davidson.

 Citizens rejoins noting that the plain language of the Bankruptcy Code dictates

 that the estate is the only entity which possesses the right to pursue any pre-

 petition claim:   11 U.S.C. § 541(a)(1).


       Davidson cites to an unpublished decision in which, as part of its ruling

 denying a defendant’s summary judgment motion, a district court permitted a

 bankruptcy trustee to be substituted as plaintiff only for that part of a Title VII

 claim which sought monetary damages. 2006 WL 2321114 (M.D. Fla., Aug. 9,

 2006). However, there is no indication in that case that the defendant opposed

 the resulting joint pursuit of the Title VII claim between the bankruptcy trustee

 as well as the bankrupt plaintiff nor does it appear that the defendant claimed

 any monetary value to inhere in the equitable claims. Here, in contrast,

 Citizens contends that there is no basis to separate Davidson’s claim into that


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 part having monetary value and that part without monetary value. This is a

 disparate impact claim, which, if successfully pursued, would make Davidson

 eligible for back-pay (an equitable remedy) and job advancement potential if his

 seniority ranking is increased. Such value, including potential past and future

 advancement opportunities, existed and was a possible form of relief available

 to the bankruptcy trustee when Davidson filed his bankruptcy and failed to list

 the claim as an asset. The bankruptcy estate had the right to claim and

 pursue the full value of Davidson’s cause of action in managing debtor’s claims

 against the estate.


       We agree with Citizens that the claim has elements of value that are

 greater than mere monetary damages which might result from a successful

 prosecution. We also agree that the claim has value with respect to any

 settlement and that there is no basis in the language of 11 U.S.C. § 541(a)(1)

 for splitting a claim based on whether a monetary award accompanies a

 favorable ruling on the claim. Simply stated, Davidson’s claims for back-pay,

 injunctive relief and retroactive seniority are intertwined to such a degree that

 it is impractical and unfair to separate them between him and his estate. The

 trustee shall be substituted for the entirety of Davidson’s claim as a Plaintiff

 and real party in interest.




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       Accordingly, the Motion to Substitute (Doc. #478) filed by Davidson and

 the Trustee of his bankruptcy estate is GRANTED IN PART and DENIED IN

 PART, in that Gregory Silver is joined as Bankruptcy Trustee and substituted

 for Todd Davidson as the real party in interest as to the entirety of Plaintiff’s

 claim. The Motion to Substitute (Doc. #479) filed by Eugene Smith and the

 Trustee of his bankruptcy estate is GRANTED and John J. Petr is joined as

 Bankruptcy Trustee and substituted in place of Eugene Smith as the real party

 in interest.


       IT IS SO ORDERED.


  Date: 04/09/2008
                                                     _______________________________
                                                      SARAH EVANS BARKER, JUDGE
                                                      United States District Court
                                                      Southern District of Indiana




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